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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )             8:05CR365
                        Plaintiff,                      )
                                                        )
        vs.                                             )                ORDER
                                                        )
MATTHEW J. LAYTON,                                      )
                                                        )
                         Defendant.                     )
        This matter is before the court on the motion of defendant Matthew J. Layton (Layton) for
a psychiatric evaluation pursuant to 18 U.S.C. § 4241 (Filing No. 59). The motion was set for
hearing on February 3, 2006. Appearing at the hearing were Layton, his appointed counsel, Kellie
Paris Asaka, and Assistant U. S. Attorney Joe W. Stecher. Ms. Asaka represented that the
defendant has been diagnosed as bi-polar and suffereing from ADHD. Further Layton has recently
reported that “he flips between different personalities,” is seriously depressed, and has trouble
understanding, concentrating, and remembering. Such representation established a basis to
question the competency of Layton to stand trial in this matter. The government had no objection
to the motion. The request for a psychiatric evaluation will be granted.
        IT IS ORDERED:
        1.        Defendant Layton’s motion for a psychiatric evaluation (Filing No. 59) is granted.
        2.        Pursuant to 18 U.S.C. § 4241, Layton is committed to the custody of the Attorney
General for placement in a suitable facility to be examined for a reasonable period of time, not to
exceed thirty (30) days, to determine whether Layton is suffering from a mental disease or defect
rendering him mentally incompetent to the extent that he is unable to understand the nature and
consequences of the proceedings against him or to assist properly in his defense.
        3.       A psychiatric or psychological report shall be filed with the court with copies provided
to counsel of record at the completion of the period of examination.
        4.       Upon receipt by the court and counsel of the examination report, a hearing pursuant
to 18 U.S.C. § 4247(d) shall be promptly scheduled to determine the competency of Layton to stand
trial in this matter.
        DATED this 3rd day of February, 2006.
                                                        BY THE COURT:
                                                        s/Thomas D. Thalken
                                                        United States Magistrate Judge
